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  7
                                   UNITED STATES DISTRICT COURT
  8
                                            DISTRICT OF NEVADA
  9

 10     UNITED STATES OF AMERICA,                       ) 2:11-CR-434-LDG-(PAL)
                                                        )
 11                            Plaintiff,               )
                                                        )
 12            V.                                       ) Stipulation and Settlement Agreement for
                                                        ) Final Order of Forfeiture
 13     EDUARD PETROIU, et. al. ,                       )
                                                        )
 14                            Defendants.              )

 15            The United States of America, as Plaintiff, and Atanas Nedyalkov and Mariya

 16 Nedyalkova (hereinafter collectively referred to as the Nedyalkovs) a married couple, as

 17    Petitioners to the real property (described herein below) in the above-captioned criminal

 18    forfeiture action as well as their counsel, Boris Avramski, stipulate and agree as follows:

 19            BACKGROUND

 20           On October 16, 2012, a grand jury sitting in Las Vegas, Nevada, returned a four-count

 21    superseding indictment against Eduard Petroiu and several other individuals (named in the

 22    caption and described in the body of that superseding indictment, as docketed above) charging

 23    them with conspiring to defraud an unsuspecting public by selling cars and other conveyances

 24    over the internet that they (the defendants) did not own. Specifically, between 2008 and 2011 ,

 25    the co-defendants were engaged in a massive wire fraud conspiracy wherein the actors used

. 26   phone lines and the internet to sell cars, trucks and other conveyances that they did not own.
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 1 Relying on the schemers' false promises, hundreds of unwitting buyer/victims sent money to the

 2 conspirators expecting to receive a car, or other type of conveyance, that was never delivered.

 3 Once targeted by law enforcement, the conspirators' fraud scheme came to a swift end,

 4   culminating in the conspirators' October 2012 indictment, referenced above. That superseding

 5   indictment also contained forfeiture allegations that sought the criminal forfeiture of, amongst

 6   other things, a residence located at 4225 Dover Place, Las Vegas.

 7           Two of defendants in that case were Vladimir Budestean and Delyana Nedalkova, who

 8 were briefly married to each other. Delyana Nedyalkova's parents are Atanas and Mariya

 9 Nedyalkova, both of whom reside at a detached home located at 4225 Dover Place Las Vegas,

1o Nevada. Through the forfeiture allegations contained in the superseding indictment, the

11   Government sought the criminal forfeiture of the Dover Place residence on the ground that it was

12   purchased, in whole or in part, with proceeds from the internet fraud scam. Atanas and Mariya

13   Nedyalkova filed a petition challenging the forfeiture contending that they purchased the home

14   with legitimate funds .

15           In successive months ALL of the seventeen defendants, including Delyana Nedyalkova,

16   pled guilty and all have been sentenced. In their respective changes of plea, each of the

17   defendants pled guilty to a felony offense that supported forfeiture.

18           This Court has entered a preliminary order of forfeiture that divests each and all of the

19   convicted defendants of any right, title and/or interest in all of the assets identified and described

20   in each forfeiture allegation of the superseding indictment. As such, each item of real and

21   personal property specified in those forfeiture allegations, including the residence located at

22   4225 Dover Place, Las Vegas, Nevada 89107, has been deemed preliminarily forfeited to the

23   United States, subject to the rights of third parties, who may have asserted an interest in one or

24   more of those assets.

25           In that regard, pursuant to 21 U.S.C. § 853(n), the United States fulfilled its statutory

26   obligation to notify all interested parties of any interest(s) that he/she/they/it might assert as to




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 1 any of the preliminarily-forfeited items. No person or entity came forward to file a petition,

 2   except for Atanas Nedyalkov and Mariya Nedyalkova. As noted above, the Nedalkovas,

 3   individually and collectively, filed a petition with this Court asserting their alleged legitimate

 4   interests in the residence located at 4225 Dover Place Las Vegas, Nevada 89107.

 5          TERMS OF AGREEMENT

 6          Based upon negotiations, wherein both parties (the United States and the Nedyalkovs)

 7   were represented by counsel, the parties stipulate and agree to resolve the interests that the

 8   Nedyalkovs may have in 4225 Dover Place, Las Vegas, Nevada 89107, under the following

 9   terms and conditions:

10           1. The NEDYALKOVS knowingly and voluntarily agree to the abandonment, the civil

11               administrative forfeiture, the civil judicial forfeiture, or the criminal forfeiture of the

12               following parcel of real property: 4225 Dover Place Las Vegas, Nevada 89107.

13           2. The NEDY ALKOVS knowingly and voluntarily agree to abandon or to forfeit the

14               property to the United States.

15           3. The NEDYALKOVS knowingly and voluntarily agree to relinquish all right, title,

16               and interest in the property.

17           4. The NEDY ALKOVS knowingly and voluntarily agree to waive his and her

18               individual and/or collective right(s) to any abandonment proceedings, any civil

19               administrative forfeiture proceedings, any civil judicial forfeiture proceedings, or any

20               criminal forfeiture proceedings (all of which constitutes proceedings) of the property.

21           5. The NEDYALKOVS knowingly and voluntarily agree to waive service of process

22               of any and all documents filed in this action or any proceedings concerning the

23               property.

24           6. The NEDY ALKOVS knowingly and voluntarily agree to waive any further notice

25               to him and/or her, him and/or her agents, or his and/or her attomey(s) regarding the

26               forfeiture and disposition of the property.




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 1     7. The NEDYALKOVS knowingly and voluntarily agree not to file any claim, answer,

 2        petition, or other documents in any proceedings concerning the real property

 3        identified herein, throughout, as 4225 Dover Place Las Vegas, Nevada 89107.

 4     8. The NEDY ALKOVS knowingly and voluntarily agree to withdraw any claims,

 5        answers, counterclaims, petitions, or other documents he and/or she filed in any

 6        proceedings concerning the property.

 7     9. The NEDYALKOVS knowingly and voluntarily agree to waive the statute of

 8        limitations, the CAFRA requirements, Fed. R. Crim. P. 7, 11 , and 32.2, the

 9        constitutional requirements, and the constitutional due process requirements of any

10        abandonment proceedings or any forfeiture proceedings concerning the property.

11     10. The NEDYALKOVS knowingly and voluntarily agree to waive his and/or her

12        right(s) to a trial on the forfeiture of the property.

13     11. The NEDYALKOVS knowingly and voluntarily agree to waive (a) all

14        constitutional, legal , and equitable defenses to, (b) any constitutional or statutory

15        double jeopardy defense or claim concerning, and (c) any claim or defense under the

16        Eighth Amendment to the United States Constitution, including, but not limited to,

17        any claim or defense of excessive fines or cruel and unusual punishments in any

18        proceedings concerning the property.

19     12. The NEDYALKOVS knowingly and voluntarily agree to the entry of an Order of

20        Forfeiture of the property to the United States.

21     13. The NEDYALKOVS understand that the forfeiture of the property shall not be

22        treated as satisfaction of any assessment, restitution, fine, cost of imprisonment or

23        any other penalty that may be imposed in addition to forfeiture.

24     14. The NEDYALKOVS knowingly and voluntarily agree to the conditions set forth in

25        this Stipulation for Entry of Order of Forfeiture as to the NEDYALKOVS and Order

26        (Stipulation).




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 1     15. The NEDYALKOVS knowingly and voluntarily agree to hold harmless the United

 2        States of America, the United States Department of Justice, the United States

 3        Attorney' s Office for the District of Nevada, the Federal Bureau of Investigation

 4        and/or any other federal, state and/or local investigative agency associated with the

 5        criminal investigation of the matters contained in the superseding indictment,

 6        including their agents, and their employees from any claim made by him and/or her

 7        or by any third party arising from the facts and circumstances of this case.

 8     16. The NEDYALKOVS knowingly and voluntarily release and forever discharge the

 9        United States of America, the United States Department of Justice, the United States

10        Attorney' s Office for the District of Nevada, of Justice, the Federal Bureau of

11        Investigation and/or any other federal , state and/or local investigative agency

12        associated with the criminal investigation of the matters contained in the superseding

13        indictment including their agents, and their employees from any and all claims,

14        rights, or causes of action of any kind that the NEDY ALKOVS now have or may

15        hereafter have on account of, or in any way growing out of, the allegations leading to

16        the indictment of the real property in the superseding indictment and/or the

17        abandonment, the civil administrative forfeiture, the civil judicial forfeiture, and the

18        criminal forfeiture of the subject real property.

19     17. The petitioners, the NEDY ALKOVS hereby consent and agree to the entry of a final

20        order of forfeiture consistent with the allegations contained in the superseding

21        indictment consistent with the following terms and conditions.

22     18. The NEDYALKOVS agree to pay the United States the sum of TWENTY-FIVE

23        THOUSAND DOLLARS ($25 ,000) in United States negotiable tender in the form of

24        a cashier's check made payable to the United States Marshals Service, within thirty

25        (30) days of the date that this Court approves and files the within settlement

26        agreement.




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 1     19. The petitioners, the NEDYALKOVS, further agree that the $25 ,000 to be paid to the

 2         United States Marshals Service shall be forfeited to the United States in lieu of the

 3         defendant property, 4225 Dover Place Las Vegas, Nevada 89107, and that all right,

 4         title, and interest in the $25,000.00 shall vest, unencumbered, in the United States of

 5         America for disposition according to law.

 6     20. Following entry of a final order of forfeiture, against the cashier's check in the

 7         amount of $25 ,000, referenced above, and after that check clears, the United States

 8         shall return the defendant real property to the defendant and/or file a release of the !is

 9        pendens as against 4225 Dover Place Las Vegas, Nevada within thirty days of the

10         date that the Court afore-referenced check clears; thereby divesting the United States

11         of any and all right, title and interest in that property as relates to the forfeiture

12         allegations contained in the superseding indictment, hereinbefore referenced.

13     21 . The Stipulation contains the entire agreement between the parties.

14     22. Except as expressly stated in the Stipulation, no party, officer, agent, employee,

15         representative, or attorney has made any statement or representation to any other

16         party, person, or entity regarding any fact relied upon in entering into the Stipulation,

17         and no party, officer, agent, employee, representative, or attorney relies on such

18         statement or representation in executing the Stipulation.

19     23 . The persons signing the Stipulation warrant and represent that they have full

20         authority to execute the Stipulation and to bind the persons and/or entities, on whose

21         behalf they are signing, to the terms of the Stipulation.

22     24. This Stipulation shall be construed and interpreted according to federal forfeiture law

23         and federal common law. The jurisdiction and the venue for any dispute related to,

24         and/or arising from, this Stipulation is the unofficial Southern Division of the United

25         States District Court for the District of Nevada, located in Las Vegas, Nevada.

26     25 . Each party shall bear his/her/their or its own attorneys' fees, expenses, interest, and

          costs.


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 I           26. This Stipulation shall not be construed more strictly against one party than against

 2                the other merely by virtue of the fact that it may have been prepared primarily by

 J                counsel for one of the parties; it being recognized that both parties have contributed

 4                substantially and matbrially to the preparation of this Stipulation.

 5            IT IS HEREBY CERTIFIED, pursuant to 28 U.S.C. $ 2a65@)(2),that there was

 6   reasonable cause for the seizure and forfeiture of the property.

 7   S            w
 8

 9
     By: Michael A.                                                   edyalkova
10   Assistant United States                                Petitioner

11
     Dated: October_!J2}|7                                  Dated: Octo ,A"rfi 2011
t2
l3

t4                yalkov
     Petitioner                                             Attorney for the Petitioners
l5
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16
     Dated:October[!, ZOtl                                  Dated: October /--), 201 7

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20                                                  IT IS SO ORDERED
2t
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23
                                                    LINITED STATES DISTRICT JUDGE
24                                                  LLOYD D. GEORGE
                                                    DATED:            October 2017
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